  Case 3:92-cr-00289-N        Document 4         Filed 06/13/05    Page 1 of 4      PageID 70



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

RANDY HARRIS,                                §
                                             §
       MOVANT,                               §       No. 3:92-CR-289-H
                                             §       No. 3:97-CV-980-H
vs.                                          §
                                             §
UNITED STATES OF AMERICA,                    §
                                             §
       RESPONDENT.                           §

                FINDINGS, CONCLUSIONS AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

       This cause of action was referred to the United States Magistrate Judge pursuant to the

provisions of Title 28, United States Code, Section 636(b), as implemented by an order of the

United States District Court for the Northern District of Texas. The Findings, Conclusions and

Recommendation of the United States Magistrate Judge follow:

                              FINDINGS AND CONCLUSIONS

I. Procedural background

       Movant filed a motion to reconsider the Court’s December 8, 1998, denial of his motion

to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255 and the Court’s June 23,

2003, denial of his motion for downward departure. Movant argues the Court’s rulings should

be reconsidered based on the United States Supreme Court’s decision in United States v. Booker,

__ U.S. __, 125 S.Ct. 738 (2005).

       Petitioner’s motion for reconsideration of the Court’s denial of his motion for downward

departure should be dismissed. The Fifth Circuit has recently held that Booker is not


Findings, Conclusions and Recommendation
of the United States Magistrate Judge Page 1
  Case 3:92-cr-00289-N         Document 4       Filed 06/13/05      Page 2 of 4      PageID 71



retroactively applicable. See In re Elwood, ___ F.3d ___, 2005 WL 976998, at *1-3 (5th Cir.

Apr. 28, 2005) (per curiam).

       Further, to the extent that Movant seeks a reconsideration of the Court’s denial of his §

2255 motion, the motion is successive. See United States v. Schreiber, No. 03-50932, 2004 WL

335188 (5th Cir. Feb. 23, 2004) (citing Fierro v. Johnson, 197 F.3d 147, 151 (5th Cir. 1999)

(finding Fed. R. Civ. P. 60(b) motion should be construed as successive § 2255)).

       The Antiterrorism and Effective Death Penalty Act of 1996 limits the circumstances

under which a federal prisoner may file a second or successive motion for post-conviction relief.

ANTITERRORISM AND EFFECTIVE DEATH PENALTY ACT, Publ. L. 104-132, 110 Stat. 1214 (1996).

A defendant must show that the successive motion is based on: (1) newly discovered evidence

that, if proven and viewed in light of the evidence as a whole, would be sufficient to establish by

clear and convincing evidence that no reasonable factfinder would have found him guilty of the

offense; or (2) a new rule of constitutional law, made retroactive to cases on collateral review by

the Supreme Court, that was previously unavailable. 28 U.S.C. § 2255. This determination must

be made by a three-judge panel of the court of appeals before defendant files his motion in

district court. 28 U.S.C. §§ 2241 and 2255.

       The Fifth Circuit has not issued an order authorizing this Court to consider the successive

motion. Movant must obtain such an order before another motion for post-conviction relief is

filed. His motion for reconsideration of the denial of his § 2255 motion should therefore be

dismissed as successive.

                                    RECOMMENDATION

       For the foregoing reasons, the Court recommends that the motion to reconsider the

Findings, Conclusions and Recommendation
of the United States Magistrate Judge Page 2
  Case 3:92-cr-00289-N         Document 4       Filed 06/13/05      Page 3 of 4      PageID 72



Court’s denial of Petitioner’s motion to correct, vacate or set-aside sentence pursuant to 28

U.S.C. § 2255 be dismissed as successive. The Court further recommends that Movant’s motion

for reconsideration of the Court’s denial of his motion for downward departure be denied.

       Signed this 13th day of June, 2005.




                                              _____________________________________
                                              PAUL D. STICKNEY
                                              UNITED STATES MAGISTRATE JUDGE




Findings, Conclusions and Recommendation
of the United States Magistrate Judge Page 3
  Case 3:92-cr-00289-N         Document 4       Filed 06/13/05       Page 4 of 4     PageID 73



                           INSTRUCTIONS FOR SERVICE AND
                         NOTICE OF RIGHT TO APPEAL/OBJECT

       The United States District Clerk shall serve a true copy of these findings, conclusions and

recommendation on Plaintiff. Pursuant to Title 28, United States Code, Section 636(b)(1), any

party who desires to object to these findings, conclusions and recommendation must serve and

file written objections within ten days after being served with a copy. A party filing objections

must specifically identify those findings, conclusions or recommendation to which objections are

being made. The District Court need not consider frivolous, conclusory or general objections. A

party's failure to file such written objections to these proposed findings, conclusions and

recommendation shall bar that party from a de novo determination by the District Court. See

Thomas v. Arn, 474 U.S. 140, 150, 106 S. Ct. 466, 472 (1985). Additionally, any failure to file

written objections to the proposed findings, conclusions and recommendation within ten days

after being served with a copy shall bar the aggrieved party from appealing the factual findings

and legal conclusions of the Magistrate Judge that are accepted by the District Court, except

upon grounds of plain error. Douglass v. United Services Auto. Ass'n, 79 F.3d 1415, 1417 (5th

Cir. 1996) (en banc).




                                              _____________________________________
                                              PAUL D. STICKNEY
                                              UNITED STATES MAGISTRATE JUDGE




Findings, Conclusions and Recommendation
of the United States Magistrate Judge Page 4
